                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION



HOMELAND INSURANCE COMPANY OF
NEW YORK,                                             CIVIL ACTION NO. 1:20-cv-783-RP

                  Plaintiff,

v.

CLINICAL PATHOLOGY
LABORATORIES, INC., SONIC
HEALTHCARE USA, INC.,

                  Defendants.



        HOMELAND INSURANCE COMPANY OF NEW YORK’S RESPONSE TO

  DEFENDANTS’ MOTION TO MODIFY THE SCHEDULING ORDER TO ACHIEVE

                           CONSISTENCY WITH LOCAL RULE CV-54

         Homeland submits this opposition to Defendants’ Motion to Modify the Scheduling order

because Defendants’ proposed course of action regarding attorneys’ fees would deny Homeland

any meaningful opportunity to challenge the reasonableness of those fees, and would materially

prejudice Homeland in this proceeding.
     A. Homeland should be able conduct discovery into Defendants’ attorneys’ fee request.

         Defendants’ proposal would effectively preclude Homeland from conducting any

discovery into the reasonableness of its claimed attorneys’ fees. Defendants request that the

Court rule on its fee request based solely on an affidavit, and without expert testimony to address

the reasonableness or necessity of the fees and without any chance for Homeland to cross-

examine that expert.

         As a result, Homeland will not be able to meaningfully weigh in on factors that go into

determining the reasonableness and necessity of fees, such as the whether the amount of “time



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and labor” was “required for the litigation” or whether it was “excessive, duplicative, or

inadequately documented,” and whether the fees incurred are “customary” and justified given the

“amount involved and results obtained,” “skill required to perform the legal services,”

“preclusion of other employment by the attorney due to acceptance of the case,” and any “time

limitations imposed by the client.” Migis v. Pearle Vision, Inc., 135 F.3d 1041, 1047 (5th Cir.

1998); Watkins v. Fordice, 7 F.3d 453, 457 (5th Cir. 1993).

         Further, Defendants apparently intend to claim attorney fees not just for the work of its

primary litigation counsel in this case (the Haynes Boone firm), but also for the work of Germer

Beaman & Brown. The Germer firm’s work for Defendants appears to fall into at least three

categories – litigation work in this case, coverage work related to the insurance claim to

Homeland, and work assisting Defendants with responding to the underlying litigation in Ireland.

At least as to the latter category, Germer’s fees may not be recoverable either under Local Rule

CV 54 or as an element of contract damages. Homeland is entitled to discovery so that Germer’s

attorney fees can be appropriately allocated.

         For both these reasons, litigating attorney fees by way of post-trial affidavits –

unaccompanied by expert testimony on the foregoing issues and immune from any cross-

examination by Homeland – would be unfair to Homeland.
    B. Homeland is entitled to use any testimony Defendants’ attorney fee expert gives
       about the novelty of the issues to undermine CPL’s expected opposite argument to
       the jury.

         Homeland expects that Defendants’ attorney fee expert may testify that the attorney fees

incurred in this action and/or in the underlying litigation are reasonable because of the novelty

and difficulty of the issues involved in the insurance claim and related litigation. Arthur

Andersen & Co. v. Perry Equip. Corp., 945 S.W.2d 812, 818 (Tex. 1997) (citing “novelty and

difficulty of the questions involved” as a factor to be considered when determining the

reasonableness of fees.); USAA Cnty. Mut. Ins. Co. v. Cook, 241 S.W.3d 93, 102 (Tex. App.

2007) (same).




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         But at trial on Defendants’ counter-claim for declaratory relief, Homeland anticipates that

Defendants will argue that the opposite is true to the jury; namely, that the issues in the coverage

claim were straightforward such that Homeland acted unreasonably by conducting a lengthy

investigation and ultimately denying coverage. Homeland should be entitled to use any

testimony Defendants’ witnesses, such as its attorney fee expert, may give about the difficulty

and novelty of the issues to undermine Defendants’ expected opposite argument to the jury.

    C. Homeland’s defense costs incurred in the underlying litigation should be presented
       at trial.

         Homeland assumes that Defendants’ motion is limited to its claim for attorney fees
incurred in this litigation, as opposed to attorney fees that it incurred in connection with

defending the underlying lawsuits in Ireland. But Defendants’ motion does not clearly make that

distinction.

         If Defendants’ motion is intended to apply to attorney fees incurred in defending the

underlying litigation in Ireland, the motion must be denied because granting it would deprive

Homeland of its right to a jury trial on all elements of damages.           Defendants claim that

Homeland’s alleged breach of the insurance policy caused them to incur damages in the form of

defense expenses in the underlying Irish litigation. (Dkt. 18 at 32-33). Defendants bear the

burden of proving all elements of their breach of contract claim, including the amount of their

damages, which allegedly includes underlying defense expenses. Certain Underwriters at
Lloyd's Subscribing to Pol'y No. WDO-10000 v. KKM Inc., 215 S.W.3d 486, 489 (Tex. App.

2006) (A claimant in an action for breach of contract must show (1) the existence of a valid

contract; (2) the plaintiff is a proper party to sue for breach of the contract, (3) performance or

tendered performance by the plaintiff; (4) breach of the contract by the defendant; and (5)

damages sustained as a result of the breach.); Am. Home Assur. Co. v. United Space All., LLC,
378 F.3d 482, 490 (5th Cir. 2004) (attorney’s fees sought to be recovered as damages must be

reasonable and necessary). Local Court Rule CV 54(b)(1) only applies that attorneys’ fees are

not required to be demonstrated as an “element of damages.” Because the attorney fees incurred




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by Defendants in defending the underlying litigation in Ireland must be proved as an element of

damages, Homeland is entitled to a jury trial as to such fees.
         Respectfully submitted this 26th day of October, 2022.



                                            By: /s/ John T. Brooks
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                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a true copy of this document was served upon

counsel of record for all parties who have made an appearance in this case at the addresses

indicated by CM/ECF electronic notification and email on this 26th day of October, 2022.



                                                                /s/ John T. Brooks




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